I concur in the dissenting opinion of MR. JUSTICE ANDERSON. I do this because I believe firmly in the principle that tax laws and impositions should be construed strictly in favor of the taxpayer. It is a wise and salutary theory and has been pretty generally recognized by courts. The people of this country, and of Montana particularly, are becoming tax conscious. They realize the dangers which lie in the path of excessive taxation.
We now have more forms of taxation than were ever conceived by those who have in the past overthrown governments because of excessive taxation. I do not believe that the legislature ever intended to have the provisions of the Inheritance Tax Law extended to the extent contemplated in the majority opinion.
The extension of the tax to include the money paid for family allowance is to tax the food eaten and the clothes worn by the recently bereaved widow and by lately orphaned children of a deceased citizen. That is exactly what it amounts to. The period over which family allowances are made usually corresponds to the period of bereavement and mourning. It corresponds to the period of adjustment necessary to rearrange the finances of a family when the breadwinner is taken away. To impose a tax upon the food and clothing which constitute the support and maintenance of the remaining loved ones during the period of bereavement is, to say the least, a very harsh proposition. I cannot hold that such was the intention of the legislature in the absence of unmistakable terms. I do not believe that the provisions of the law can be fairly extended to that extent. *Page 206 